                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE

STEPHEN SAMPLES,                         )   Case No. _______________
                                         )
                       Plaintiff,        )   Judge:
                                         )
       v.                                )   Magistrate Judge:
                                         )
MEDICREDIT, INC.,                        )   COMPLAINT AND TRIAL BY
                                         )   JURY DEMAND
                       Defendant.        )
                                         )

                                NATURE OF ACTION

       1.      Plaintiff Stephen Samples (“Plaintiff”) brings this action against

Defendant Medicredit, Inc. (“Defendant”) pursuant to the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                   JURISDICTION, VENUE, AND STANDING

       2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and where Defendant transacts

business in this district.

       4.      Congress is “well positioned to identify intangible harms that meet

minimum Article III requirements,” thus “Congress may ‘elevat[e] to the status of

legally cognizable injuries concrete, de facto injuries that were previously




                                -1-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 1 of 8 PageID #: 1
inadequate in law.’” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549, 194 L. Ed. 2d

635 (2016) (quoting Lujan v. Defs of Wildlife, 504 U.S. 555, 578 (1992)).

       5.      “Without the protections of the FDCPA, Congress determined, the

‘[e]xisting laws and procedures for redressing these injuries are inadequate to

protect consumers.’” Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446,

2016 WL 3671467, at *3 (N.D. Ill. July 11, 2016) (quoting 15 U.S.C. § 1692(b)).

Thus, a debt collector’s breach of a right afforded a consumer under the FDCPA

causes an injury in fact for Article III standing, even where the harm may be

intangible. See id.; Church v. Accretive Health, Inc., 654 F. App’x 990, 995 (11th

Cir. 2016).

              THE FAIR DEBT COLLECTION PRACTICES ACT

       6.     Congress enacted the FDCPA to “eliminate abusive debt collection

practices, to ensure that debt collectors who abstain from such practices are not

competitively disadvantaged, and to promote consistent state action to protect

consumers.” Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S.

573, 577 (2010) (citing 15 U.S.C. § 1692(e)).

       7.     In order to protect gullible consumers, the Sixth Circuit, “in

determining whether a statement qualifies as misleading, employs an objective,

‘least-sophisticated-consumer’ test.” Miller v. Javitch, Block & Rathbone, 561

F.3d 588, 592 (6th Cir. 2009); Smith v. Computer Credit, Inc., 167 F.3d 1052,

1054 (6th Cir. 1999) (“The least sophisticated debtor standard is ‘lower than

simply examining whether particular language would deceive or mislead a


                                -2-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 2 of 8 PageID #: 2
reasonable debtor’”) (quoting Swanson v. Southern Oregon Credit Service, Inc.,

869 F.2d 1222, 1225 (9th Cir. 1988)).

       8.     “Federal courts have broadly recognized the FDCPA as a strict-

liability statute.” Gamby v. Equifax Info. Servs. LLC, 462 F. App’x 552, 556 (6th

Cir. 2012) (citing Turner v. J.V.D.B. & Assocs., Inc., 330 F.3d 991, 995 (7th Cir.

2003)).

       9.     “Structured as such, the FDCPA functions both to protect the

individual debtor and advance the declared federal interest in ‘eliminat[ing]

abusive debt collection practices.’” Stratton v. Portfolio Recovery Associates,

LLC, 770 F. 3d 443, 449 (6th Cir. 2014), as amended (Dec. 11, 2014) (quoting 15

U.S.C. § 1692(e)).

                                     PARTIES

       10.    Plaintiff is a natural person who at all relevant times resided in the

State of Tennessee, County of Rutherford, and City of Smyrna.

       11.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       12.    Defendant is an entity who at all relevant times was engaged, by use

of the mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. § 1692a(5).

       13.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       14.    Plaintiff is a natural person allegedly obligated to pay a debt.




                                -3-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 3 of 8 PageID #: 3
       15.      Plaintiff’s alleged obligation arises from a transaction in which the

money, property, insurance, or services that are the subject of the transaction were

incurred primarily for personal, family, or household purposes—namely, personal

medical services (the “Debt”).

       16.      Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts.

       17.      Defendant regularly collects or attempts to collect, directly or

indirectly, debts owed or due, or asserted to be owed or due, another.

       18.      In connection with the collection of the Debt, Defendant sent

Plaintiff a letter dated November 14, 2017.

       19.      A true and correct copy of Defendant’s November 14, 2017 letter is

attached to this complaint as Exhibit A.

       20.      The   November     14,     2017   letter   was   Defendant’s   initial

communication with Plaintiff with respect to the Debt.

       21.      Defendant’s November 14, 2017 letter purported to contain the

notices required in an initial communication by 15 U.S.C. § 1692g(a).

       22.      However, nowhere in Defendant’s November 14, 2017 letter does it

meaningfully convey the identity of the creditor to whom the debt is owed.

       23.      Plaintiff received and read Defendant’s November 14, 2017 letter.

       24.      Upon reading the letter, Plaintiff was unsure of who the current

creditor was.




                                -4-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 4 of 8 PageID #: 4
       25.    The only information Defendant provided as to debt’s origination is

that it stated that the “Facility” was Stonecrest Medical Center.

       26.    The least sophisticated consumer would not understand that

“facility” was equivalent to the identity of the current creditor to whom the debt is

owed (if that is what Defendant was attempting to convey).

       27.    Rather, “facility” may simply indicate that the location where the

services were rendered.

       28.    Often when a medical visit occurs, there are many different

independent contractors at a given facility that perform services on a patient, and

the patient may receive different bills from, e.g., a doctor, a specialist, a

laboratory, etc.

       29.    In addition, debts are often bought and sold, purchased and assigned,

to different entities other than where the debt originated.

       30.    Defendant’s November 14, 2017 letter does not indicate to whom the

Debt is currently owed.

       31.    Defendant’s November 14, 2017 letter does not explain its

relationship to Stonecrest Medical Center.

       32.    Therefore, Defendant’s November 14, 2017 letter failed to

meaningfully convey the name of the creditor to whom the Debt is owed.

                               COUNT I
                    VIOLATION OF 15 U.S.C. § 1692g(a)(2)

       33.    Plaintiff repeats and re-alleges each factual allegation above.



                                -5-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 5 of 8 PageID #: 5
      34.    A key provision of the FDCPA is § 1692g, which requires a debt

collector to send, within five days of its initial communication with a consumer, a

written notice which provides information regarding the debt and informs the

consumer of his or her right to dispute the validity of the debt within 30 days of

receipt of the notice. See 15 U.S.C. § 1692g(a).

      35.    Congress adopted “the debt validation provisions of section 1692g”

to guarantee that consumers would receive “adequate notice” of their rights under

the FDCPA. Wilson v. Quadramed Corp., 225 F.3d 350, 354 (3d Cir. 2000) (citing

Miller v. Payco–General Am. Credits, Inc., 943 F.2d 482, 484 (4th Cir. 1991)).

      36.    This validation requirement is a “significant feature” of the law that

aimed to “eliminate the recurring problem of debt collectors dunning the wrong

person or attempting to collect debts which the consumer has already paid.” See

Hernandez v. Williams, Zinman & Parham PC, 829 F.3d 1068, 1070 (9th Cir.

2016) (citing S. Rep. No. 95-382, at 4 (1977)).

      37.    “Viewed from the perspective of the least sophisticated consumer,

the Validation Notice must effectively convey the identity of the creditor.”

Youssofi v. CMRE Fin. Servs., Inc., No. 15CV2310 JM(WVG), 2016 WL

4098312, at *3 (S.D. Cal. Aug. 2, 2016).

      38.    “Merely including the current creditor’s name in a debt collection

letter, without more, is insufficient to satisfy 15 U.S.C. § 1692g(a)(2).” McGinty

v. Prof’l Claims Bureau, Inc., No. 15CV4356SJFARL, 2016 WL 6069180, at *4

(E.D.N.Y. Oct. 17, 2016); see Datiz v. Int’l Recovery Assocs., Inc., No. 15-CV-


                                -6-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 6 of 8 PageID #: 6
3549, 2016 WL 4148330, at *11 (E.D.N.Y. Aug. 4, 2016) (“[A] debt collector

cannot satisfy Section 1692g(a)(2) by naming an entity without explicitly or

implicitly making clear in the letter that the entity is the debtor's current creditor to

whom a debt is owed.”).

       39.      Defendant violated 15 U.S.C. § 1692g(a)(2) by failing to

meaningfully convey to Plaintiff the name of the creditor to whom the alleged debt

is owed.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(a)(2);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k(a)(2)(A), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as

                permissible by law; and

             f) Awarding such other and further relief as the Court may deem

                proper.




                                -7-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 7 of 8 PageID #: 7
                              TRIAL BY JURY

      40.   Plaintiff is entitled to and hereby demands a trial by jury.

Dated: May 2, 2018.
                                 Respectfully submitted,

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                                -8-
  Case 3:18-cv-00418 Document 1 Filed 05/02/18 Page 8 of 8 PageID #: 8
